     Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 1 of 7
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                 January 11, 2023
                     IN THE UNITED STATES DISTRICT COURT
                                                                                Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

OBEL CRUZ-GARCIA,                           '
                                            '
       Petitioner,                          '
v.                                          '           CIVIL ACTION NO. 17-cv-3621
                                            '
BOBBY LUMPKIN,                              '
Director, Texas Department of               '
Criminal Justice, Correctional              '
Institutions Division                       '
                                            '
       Respondent.                          '

                                        ORDER

       The petitioner, Obel Cruz-Garcia, seeks federal habeas relief from his capital

conviction and death sentence. Cruz-Garcia filed this federal action in 2017. The court

paused these proceedings so that Cruz-Garcia could raise new evidence and arguments in

state court. Cruz-Garcia filed a second amended federal petition upon his return to federal

court. (Docket Entry No. 73). Cruz-Garcia now wants to engage in factual development

to support his federal grounds for relief. To that end, Cruz-Garcia has filed a motion to

hold an evidentiary hearing on claim one (Docket Entry No. 74) and a motion asking for

discovery to support claims one, five, and six. (Docket Entry No. 75). The respondent,

Texas Department of Criminal Justice Correctional Institutional Divisions Director Bobby

Lumpkin, opposes both motions. (Docket Entry No. 84).

       Federal habeas review only provides limited opportunities for factual development.

The Anti-Terrorism and Effective Death Penalty Act (AEDPA) “restricts the ability of a
                                             1
     Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 2 of 7




federal habeas court to develop and consider new evidence.” Shoop v. Twyford, ___ U.S.

___, 142 S. Ct. 2037, 2038 (2022). The Supreme Court has recently reminded that “the

‘state trial on the merits’ is the ‘main event, so to speak, rather than a tryout on the road to

what will later be the determinative federal habeas hearing.”            Id. at 2044 (quoting

Wainwright v. Sykes, 433 U.S. 72, 90 (1977)). The Supreme Court has repeatedly

emphasized that factual development in federal habeas cases is only available in “quite

limited situations.” Tyford, 142 S. Ct. at 2044; see also Shinn v. Martinez Ramirez, ___

U.S. ___, 142 S. Ct. 1718, 1732 (2022); Cullen v. Pinholster, 563 U.S. 170, 180 (2011).

       It would be premature to find that this is one of the unique situations requiring

federal habeas fact-finding. As discussed below, the court will deny Cruz-Garcia’s

motions without prejudice to reurging should the circumstances so warrant.

I.     Motion for an Evidentiary Hearing

       Cruz-Garcia asks this court to hold an evidentiary hearing on claim one. Cruz-

Garcia raised claim one on both direct appeal and on state habeas review. The state courts

denied relief in both proceedings. The parties debate whether the state courts denied or

procedurally barred the claim. A preliminary review indicates that, at a minimum, the

lower state habeas court issued a recommendation (in the alternative) that the Court of

Criminal Appeals deny the merits of the claim. The Court of Criminal Appeals “den[ied]

relief” based “upon the trial court’s findings and conclusions and our [its] review[.]” Ex

parte Cruz-Garcia, 2017 WL 4947132, at *2 (Tex. Crim. App. 2017). While the court will


                                               2
     Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 3 of 7




analyze the issue at greater depth when adjudicating Cruz-Garcia’s petition, it appears as a

preliminary matter that the state courts adjudicated the merits of his claim. See Stephens

v. Branker, 570 F.3d 198, 208 (4th Cir. 2009) (“[W]e agree with our sister circuits that an

alternative merits determination to a procedural bar ruling is entitled to the AEDPA

deference.”)

       When an inmate has exhausted claims in state court, federal habeas review focuses

on the state-court record. See Pinholster, 563 U.S. at 180. A petitioner must demonstrate

under 28 U.S.C. § 2254(d)(1) that the state court decision was contrary to, or an

unreasonable application of, federal law. The Supreme Court has described this as meaning

“‘no fairminded juris[t]’ could have reached the same judgment as the state court.”

Martinez Ramirez, 142 S. Ct. at 1732 (quoting Harrington v. Richter, 562 U.S. 86, 102

(2011)). A federal evidentiary is not available until an inmate meets section 2254(d)’s

deferential standards. See Schriro v. Landrigan, 550 U.S. 465, 474 (2007) (“Because the

deferential standards prescribed by § 2254 control whether to grant habeas relief, a federal

court must take into account those standards in deciding whether an evidentiary hearing is

appropriate.”).

       Even if an inmate makes the section 2254(d) showing, AEDPA establishes other

requirements before an evidentiary hearing becomes available. If a prisoner “has failed to

develop the factual basis of a claim in State court proceedings,” section 2254(e)(2) only

allows an evidentiary hearing when: (1) the inmate shows that the claim relies on a new


                                             3
     Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 4 of 7




rule of constitutional law or a previously undiscoverable factual predicate and (2) the facts

underlying establish by clear and convincing evidence that no reasonable factfinder would

have found him guilty.

       After meeting AEDPA’s requirements, “the decision to grant such a hearing rests in

the discretion of the district court.” Schriro, 550 U.S. at 468; see also Broadnax v.

Lumpkin, 987 F.3d 400, 407 (5th Cir. 2021); Rule 8(a), Rules Governing Section 2254

Cases. A district court may decide not to hold a hearing if it already has “sufficient facts

before it to make an informed decision on the merits.” McDonald v. Johnson, 139 F.3d

1056, 1060 (5th Cir. 1998).

       Important questions remain unresolved before the court may order a hearing. The

court must examine what issues Cruz-Garcia raised, what the state courts decided, and

whether that decision was unreasonable. This court cannot make those decisions until after

reviewing the petition, the answer, the state court record, and the law. Until then, it would

be premature to order an evidentiary hearing.

       Even if Cruz-Garcia can meet the requirements of section 2254(d), he still must

show how a hearing will benefit adjudication of his claims. See United States v. Edwards,

442 F.3d 258, 268 n.10 (5th Cir. 2006) (finding an evidentiary hearing not warranted where

the conclusory and speculative nature of the allegations make such a hearing nothing more

than a “fishing expedition”). Cruz-Garcia presented significant evidence in state court

relating to claim one. While broadly making arguments about the need for this court to


                                             4
      Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 5 of 7




make credibility determinations, Cruz-Garcia has not identified which witnesses he would

like to call, what testimony they would provide, and what other evidence he would like to

present. Cruz-Garcia has not shown why an evidentiary hearing is necessary for a fair

review of his claims. The court will deny Cruz-Garcia’s motion for an evidentiary hearing

without prejudice.

II.    Motion for Discovery

       Cruz-Garcia also seeks discovery to support claims one, five, and six from his

second amended petition. As previously mentioned, Cruz-Garcia exhausted claim one

before filing his federal petition. He raised claims five and six in his successive state

habeas proceedings which resulted in a procedural dismissal under Tex. Code Crim. Pro.

art. 11.071 §5(a)(1) without considering their merits.

       Civil litigants generally “may obtain discovery regarding any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.”

Fed. R. Civ. P. 26(b). But “it is clear that there was no intention to extend to habeas corpus,

as a matter of right, the broad discovery provisions” available to other civil litigants. Harris

v. Nelson, 394 U.S. 286, 295 (1969).1 Rule 6(a) of the Rules Governing Section 2254

Cases requires leave of the court before discovery becomes available. A federal court may



1
       The Federal Rules of Civil Procedure apply in habeas cases “to the extent that they are not inconsistent with
       any statutory provisions or [the specific habeas] rules . . . .” Rule 12, Rules Governing Section 2254 Cases
       in the United States District Courts; see also Fed. R. Civ. P. 81(a)(4)(A) (“These rules apply to proceedings
       for habeas corpus . . . to the extent that the practice in those proceedings . . . is not specified in a federal
       statute, the Rules Governing Section 2254 Cases, or the Rules Governing Section 2255 Cases.”).
                                                         5
     Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 6 of 7




authorize discovery only “for good cause” and “may limit the extent of discovery.” The

Supreme Court has tethered the “good cause” clause of Rule 6(a) to an inmate’s burden to

show an entitlement to federal habeas relief. See Bracy v. Gramley, 520 U.S. 899, 908-09

(1997).

       As previously discussed, Cruz-Garcia has not yet met section 2254(d)’s relitigation

bar regarding claim one. Claims five and six face a procedural bar because the state courts

dismissed them under adequate and independent state law. A petitioner cannot show good

cause for discovery if procedural impediments preclude considering the merits of that

claim. See Campbell v. Dretke, 117 F. App’x 946, 959 (5th Cir. 2004); see also Thompson

v. Stephens, 2014 WL 2765666, at *2 (S.D. Tex. 2014) (“As a threshold matter, however,

a court must also take into account the procedural posture of an inmate’s claims. A

petitioner cannot show good cause if a federal court cannot reach the merits of the disputed

claims.”). The court has not yet decided whether Cruz-Garcia can overcome the procedural

bar of claims five and six. It would be premature at this stage to find that discovery is

available for those claims.

       As an additional reason to deny discovery, Lumpkin who is the named party to this

lawsuit argues that he does not have possession, care, custody, or control of the requested

material. Lumpkin argues that Cruz-Garcia must instead obtain the material—if it is

available in this proceeding at all—though a request for a third-party subpoena under Rule




                                             6
       Case 4:17-cv-03621 Document 90 Filed on 01/11/23 in TXSD Page 7 of 7




45 of the Federal Rules of Civil Procedure. Cruz-Garcia has not responded to that

argument.

        Cruz-Garcia has not shown an entitlement to discovery at this time. The court may

reconsider the need for discovery after additional review. The court will deny the discovery

motion without prejudice.

III.    Conclusion

        The court denies Cruz-Garcia’s motion for an evidentiary hearing (Docket Entry

No. 74) and motion for discovery (Docket Entry No. 75) without prejudice.

        The Clerk shall enter this Order and provide a copy to the parties.

        SIGNED on January 11, 2023, at Houston, Texas.


                                           _______________________________________
                                                       Lee H. Rosenthal
                                                   United States District Judge




                                              7
